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  6
      Attorneys for Plaintiff THERESA BROOKE
  7
  8
                                  UNITED STATES DISTRICT COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
 10
 11
      THERESA BROOKE, a married woman
 12   dealing with her sole and separate claim,      Case No:
 13
                            Plaintiff,
 14                                                  VERIFIED COMPLAINT
 15
      vs.
 16
      PLATINUM HOTEL GROUP, LLC, a
 17   California limited liability company dba       (Jury Trial Demanded)
 18   Holiday Inn Express;

 19                         Defendant.
 20
             Plaintiff alleges:
 21
 22
                                             PARTIES
 23
             1.     Plaintiff Theresa Brooke is a married woman currently residing in Pinal
 24
      County, Arizona. Plaintiff is and, at all times relevant hereto, has been legally disabled,
 25
      confined to a wheel chair, and is therefore a member of a protected class under the
 26
      ADA, 42 U.S.C. § 12102(2), the regulations implementing the ADA set forth at 28 CFR
 27
      §§ 36.101 et seq., the California Unruh Civil Rights Act, California Civil Code § 51,
 28
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  1   52, and the California Disabled Persons Act. Plaintiff ambulates with the aid of a
  2   wheelchair due to the loss of a leg.
  3          2.     Defendant, Platinum Hotel Group LLC, owns and/or operates and does
  4   business as the hotel, Holiday Inn Express located at 1864 Oak Valley Village Circle,
  5   Beaumont, California 92223. Defendant’s hotel is a public accommodation pursuant to
  6   42 U.S.C. § 12181(7)(A), which offers public lodging services.
  7                                      INTRODUCTION
  8          3.     Plaintiff Theresa Brooke brings this action against Defendant, alleging
  9   violations of Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et
 10   seq., (the “ADA”) and its implementing regulations, the California Unruh Civil Rights
 11   Act (“Unruh”), California Civil Code §§51, 52, and the California Disabled Persons Act
 12   (“DPA”), California Civil Code §§54-54.3.
 13          4.     Plaintiff is a disabled woman confined to a wheelchair. She brings this
 14   civil rights action against Defendant for failing to design, construct, and/or own or
 15   operate hotel facilities that are fully accessible to, and independently usable by, disabled
 16   people. Specifically, Defendant’s hotel, which is a place of public accommodation, has
 17   barriers to use of the swimming pool facilities. Defendant’s swimming pool facilities do
 18   not have acceptable means of entry for disabled persons, notwithstanding that such
 19   modifications are readily achievable. Therefore, Plaintiff seeks a declaration that
 20   Defendant’s hotel violates federal law and an injunction requiring Defendant to install
 21   means of access in compliance with ADA requirements so that the swimming pool
 22   facilities are fully accessible to, and independently usable by, disabled individuals.
 23   Plaintiff further requests that, given Defendant’s historical failure to comply with the
 24   ADA’s mandate, the Court retain jurisdiction of this matter for a period to be
 25   determined to ensure that Defendant comes into compliance with the relevant
 26   requirements of the ADA, and to ensure that Defendant has adopted and is following an
 27   institutional policy that will, in fact, cause Defendant to remain in compliance with the
 28   law.


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  1            5.    In compliance with R10-3-405(H)(1), Plaintiff’s address is c/o Peter
  2   Kristofer Strojnik, her attorney, 2415 East Camelback, Suite 700, Phoenix, Arizona
  3   85016.
  4                               JURISDICTION AND VENUE
  5            6.    Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
  6   U.S.C. § 12188. The Court has supplemental jurisdiction over the state law claims. 28
  7   U.S.C. § 1367.
  8            7.    Plaintiff’s claims asserted herein arose in this judicial district and
  9   Defendant does substantial business in this judicial district.
 10            8.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
 11   in that this is the judicial district in which a substantial part of the acts and omissions
 12   giving rise to the claims occurred.
 13                  THE ADA AND ITS IMPLEMENTING REGULATIONS
 14            9.    On July 26, 1990, President George H.W. Bush signed into law the ADA,
 15   a comprehensive civil rights law prohibiting discrimination on the basis of disability.
 16            10.   The ADA broadly protects the rights of individuals with disabilities in
 17   employment, access to State and local government services, places of public
 18   accommodation, transportation, and other important areas of American life.
 19            11.   Title III of the ADA prohibits discrimination in the activities of places of
 20   public accommodation and requires places of public accommodation to comply with
 21   ADA standards and to be readily accessible, and independently usable by, individuals
 22   with disabilities. 42 U.S.C. § 12181-89.
 23            12.   On July 26, 1991, the Department of Justice (“DOJ”) issued rules
 24   implementing Title III of the ADA, which are codified at 28 CFR Part 36.
 25            13.   Appendix A of the 1991 Title III regulations (republished as Appendix D
 26   to 28 CFR part 36) contains the ADA standards for Accessible Design (1991
 27   Standards), which were based upon the Americans with Disabilities Act Accessibility
 28   Guidelines (1991 ADAAG) published by the Access Board on the same date.


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  1          14.     In 1994, the Access Board began the process of updating the 1991
  2   ADAAG by establishing a committee composed of members of the design and
  3   construction industries, the building code community, and State and local governmental
  4   entities, as well as individuals with disabilities.
  5          15.     In 1999, based largely on the report and recommendations of the advisory
  6   committee, the Access Board issued a notice of proposed rulemaking to update and
  7   revise its ADA and ABA Accessibility Guidelines.
  8          16.     The Access Board issued final publication of revisions to the 1991
  9   ADAAG on July 23, 2004 (“2004 ADAAG”).
 10          17.     On September 30, 2004, the DOJ issued an advanced notice of proposed
 11   rulemaking to begin the process of adopting the 2004 ADAAG.
 12          18.     On June 17, 2008, the DOJ published a notice of proposed rulemaking
 13   covering Title III of the ADA.
 14          19.     The long-contemplated revisions to the 1991 ADAAG culminated with
 15   the DOJ’s issuance of The 2010 Standards for Accessible Design (“2010 Standards”).
 16   The DOJ published the Final Rule detailing the 2010 Standards on September 15, 2010.
 17   The 2010 Standards consist of the 2004 ADAAG and the requirements contained in
 18   subpart D of 28 CFR part 36.1
 19          20.     Notably, the lodging industry requested and received a number of
 20   extensions of time before the mandatory requirements of Section 242.2 of the 2010
 21   Standards, concerning access to pools, became effective. Notwithstanding, the industry
 22   remains largely noncompliant with the requirements.
 23
 24
 25
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        Though the Effective Date of the 2010 Standards was March 15, 2011, the deadline for
 28   existing pools to comply did not become effective until January 31, 2013, at which time
      the 2010 Standards became enforceable through civil actions by private plaintiffs.

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  2
  3                 THE CALIFORNIA UNRUH CIVIL RIGHTS ACT and
  4                    THE CALIFORNIA DISABLED PERSONS ACT
  5          21.    Unruh and the DPA incorporate ADA standards, so a “violation of the
  6   ADA also constitutes a violation of both the Unruh Act and the DPA.” Californians for
  7   Disability Rights v. Mervyn’s LLC, 165 Cal. App. 4th 571, 586, 81 Cal. Rptr. 3d 144
  8   (2008); Molski v. M.J. Cable, Inc., 481 F.3d 724, 731 (9th Cir. 2007).
  9          22.    Unruh provides for injunctive relief, monetary damages in an amount not
 10   less than $4,000.00, and for the recovery of attorney’s fees and costs.
 11          23.    The DPA provides for monetary damages in an amount not less than
 12   $1,000.00 and for the recovery of attorney’s fees and costs.
 13                     ALLEGATIONS COMMON TO ALL COUNTS
 14          24.    Pursuant to CFR 36-302(1)(ii), Plaintiff contacted Defendant’s hotel for
 15   purposes of booking a room for personal and business affairs in San Bernardino Valley.
 16   Prior to booking and because of Plaintiff’s intimate knowledge that hotels often do not
 17   provide equal access to their pool facilities, Plaintiff inquired whether Defendant’s hotel
 18   pool or Jacuzzi (“pool”) had a pool lift or other means of access for disabled persons
 19   such as Plaintiff. Defendant’s representative stated that the hotel Jacuzzi did not have a
 20   pool lift or other means of access. Accordingly, Plaintiff had actual notice or actual
 21   knowledge of the barriers.
 22          25.    Plaintiff’s agent, an expert in ADA accessibility guidelines, as part of due
 23   diligence investigation, independently verified that the Jacuzzi does not have a pool lift,
 24   and other ADA violations. Plaintiff’s agent reported the lack of accessibility to Plaintiff
 25   and provided Plaintiff with photographs demonstrating the lack of accessibility, and
 26   therefore Plaintiff had actual notice or actual knowledge of the barriers. But for these
 27   barriers, Plaintiff would lodge with Defendant in the near future. If and when Defendant
 28   removes these barriers, Plaintiff will lodge with Defendant’s hotel since she has several


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  1   upcoming planned visits to San Bernardino Valley. However, she will not pay money to
  2   book a room at Defendant’s hotel when she already is aware through photographs and
  3   expert assertions that Defendant’s hotel does not provide disabled persons such as her
  4   access equal to able-bodied persons.
  5          26.    Plaintiff has personal knowledge of a barrier related to her disability, that
  6   is, the swimming pool facilities at Defendant’s hotel are inaccessible to her by virtue of
  7   her confinement to a wheel chair, and is currently deterred from visiting Defendant’s
  8   accommodation by this accessibility barrier. Therefore, she has suffered an injury-in-
  9   fact for the purpose of her standing to bring this action.
 10          27.    Other potential violations and barriers to entry may be discovered through
 11   the discovery process, which, if discovered, Plaintiff shall seek to allege further ADA,
 12   Unruh and DPA violations. See Doran v. 7-Eleven, 524 F.3d 1034 9th Cir. 2008)
 13   (plaintiff need only allege one instance of ADA violation to achieve standing, but is
 14   permitted to then challenge other ADA violations found in the course of discovery).
 15          28.    Without the presence of a fixed pool lift or other means of permitting
 16   Plaintiff equal access to Defendant’s pool facilities, Plaintiff’s disability prevents her
 17   from equal enjoyment as able-bodied persons have.
 18          29.    Plaintiff has frequented the location of Defendant’s hotel in the past and
 19   intends to travel there again in the near future for business or pleasure. In fact, Plaintiff
 20   has several planned personal and business trips to the location of Defendant’s hotel in
 21   the coming months and for the indefinite future in light of new business developments
 22   in which she recently became involved.
 23          30.    As a result of Defendant’s non-compliance with the ADA, Plaintiff will
 24   not lodge at the Defendant’s place of accommodation in the future for planned trips.
 25   However, if Plaintiff receives notice that Defendant removes the barriers, Plaintiff will
 26   lodge at Defendant’s hotel.
 27          31.    The existence of barriers to use the swimming pool facilities at
 28   Defendant’s hotel deterred Plaintiff from staying or returning to seek accommodations


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  1   at Defendant’s hotel. Upon information and belief, other disabled persons were deterred
  2   from staying there or otherwise precluded from using the swimming pool facilities as
  3   guests due to the absence of pool lifts.
  4          32.     As a result of Defendant’s non-compliance with the ADA, Plaintiff,
  5   unlike persons without disabilities, cannot independently use Defendant’s swimming
  6   pool facilities.
  7          33.     In violation of Section 242.2 of the 2010 ADA Standards, Defendant’s
  8   swimming pool facilities have at least one barrier to entry.
  9          34.     Plaintiff wishes to travel to the location of Defendant’s place of public
 10   accommodation for personal or business matters and wants to stay in Defendant’s hotel.
 11   But for the presence of architectural barriers at Defendant’s hotel, Plaintiff would lodge
 12   at the Defendant’s hotel, and in fact she will lodge at Defendant’s hotel if and when the
 13   barriers are removed.
 14          35.     Upon information and belief, though Defendant has centralized policies
 15   regarding the management and operation of its hotel, Defendant does not have a plan or
 16   policy that is reasonably calculated to make its entire hotel fully accessible to and
 17   independently usable by, disabled people.
 18          36.     Plaintiff verified that Defendant’s hotel lacks the mandatory elements
 19   required by the 2010 Standards to make its pool facilities fully accessible to and
 20   independently usable by disabled people.
 21          37.     As a disabled person, Plaintiff has a keen interest in whether public
 22   accommodations that offer public lodging services are fully accessible to, and
 23   independently usable by, the disabled, specifically including an interest in ensuring that
 24   pools and spas possess all of the features required by the 2010 Standards.
 25          38.     Plaintiff, or an agent of Plaintiff, intends to return to Defendant’s hotel to
 26   ascertain whether it remains in violation of the ADA. If the above barrier is removed,
 27   Plaintiff will lodge with Defendant.
 28


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  1            39.    Plaintiff and other disabled persons have been injured by Defendant’s
  2   discriminatory practices and failure to remove architectural barriers. These injuries
  3   include being deterred from using Defendant’s pool facilities.
  4            40.    Without injunctive relief, Plaintiff and others will continue to be unable to
  5   independently use Defendant’s hotel swimming pool facilities in violation of her rights
  6   under the ADA.
  7                                 FIRST CAUSE OF ACTION
                     (Violation of Title III the Americans with Disabilities Act)
  8
  9            41.    Plaintiff incorporates all allegations heretofore set forth.

 10            42.    Defendant has discriminated against Plaintiff and others in that it has

 11   failed to make its public lodging services fully accessible to, and independently usable

 12   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §

 13   121282(b)(2)(iv) and Section 242.2 of the 2010 Standards, as described above.

 14            43.    Defendant has discriminated against Plaintiff in that it has failed to

 15   remove architectural barriers to make its lodging services fully accessible to, and

 16   independently usable by individuals who are disabled in violation of 42 U.S.C.

 17   §12182(b)(A)(iv) and Section 242.2 of the 2010 Standards, as described above.

 18   Compliance with the requirements of section 242.2 of the 2010 Standards would neither

 19   fundamentally alter the nature of Defendant’s lodging services nor result in an undue

 20   burden to Defendant.

 21            44.    In violation of Section 242.2 of the 2010 Standards, Defendant’s

 22   swimming pool and/or spa as described above do not have at least one accessible means

 23   of entry complying with Sections 1009.2 or 1009.3.

 24            45.    Pursuant to Section 44 of the IRS Code, Defendant may be able to obtain

 25   a tax credit and tax deduction where it complies with the ADA. See generally Dep’t of

 26   Justice, Questions and Answers: Accessibility Requirements for Existing Swimming

 27   Pools at Hotels and Other Public Accommodations (Mar. 1, 2013)2. The tax credit is

 28
      2
          http://www.ada.gov/qa_existingpools titleiii.htm

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  1   available to businesses that have total revenues of $1,000.000 or less in the previous tax
  2   year or 30 or fewer full-time employees. This credit can cover 50% of the eligible
  3   access expenditures in a year up to $10,250 (maximum credit of $5,000).The tax credit
  4   can be used to offset the cost of undertaking barrier removal and alterations to improve
  5   accessibility. The tax deduction can be claimed for expenses incurred in barrier removal
  6   and alterations. Id.
  7          46.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and Section 242.2 of the
  8   2010 Standards, as described above, is readily achievable by the Defendant due to the
  9   low costs of installing a fixed pool lift or lifts. Id. Readily achievable means that
 10   providing access is easily accomplishable without significant difficulty or expense.
 11          47.    Conversely, the cessation of compliance with the ADA law is also readily
 12   achievable by the removal of a fixed lift. Therefore, injunctive relief should issue
 13   irrespective of Defendant’s potential voluntary cessation pursuant to the Supreme
 14   Court’s announcement in Friends of the Earth case3.
 15          48.    Defendant’s conduct is ongoing, and, given that Defendant has never fully
 16   complied with the ADA’s requirements that public accommodations make lodging
 17   services fully accessible to, and independently usable by, disabled individuals, Plaintiff
 18
 19
 20   3
        Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S.Ct.
 21   693, 145 L.Ed.2d 610 (2000):
 22
             It is well settled that a defendant's voluntary cessation of a challenged
 23          practice does not deprive a federal court of its power to determine the
             legality of the practice. If it did, the courts would be compelled to leave the
 24          defendant free to return to his old ways. In accordance with this principle,
 25          the standard we have announced for determining whether a case has been
             mooted by the defendant's voluntary conduct is stringent: A case might
 26          become moot if subsequent events made it absolutely clear that the
             allegedly wrongful behavior could not reasonably be expected to recur. The
 27
             heavy burden of persuading the court that the challenged conduct cannot
 28          reasonably be expected to start up again lies with the party asserting
             mootness.

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   1   invokes her statutory right to declaratory and injunctive relief, as well as costs and
   2   attorneys’ fees.
   3          49.      Without the requested injunctive relief, specifically including the request
   4   that the Court retain jurisdiction of this matter for a period to be determined after the
   5   Defendant certifies that it is fully in compliance with the mandatory requirements of the
   6   ADA that are discussed above, Defendant’s non-compliance with the ADA’s
   7   requirements that its pool facilities be fully accessible to, and independently useable by,
   8   disabled people is likely to recur.
   9          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
  10                a. A Declaratory Judgment that at the commencement of this action
  11                   Defendant was in violation of the specific requirements of Title III of the
  12                   ADA described above, and the relevant implementing regulations of the
  13                   ADA, in that Defendant took no action that was reasonably calculated to
  14                   ensure that all of its pools were fully accessible to, and independently
  15                   usable by, disabled individuals;
  16                b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
  17                   applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
  18                   and 28 CFR § 36.504(a) which directs Defendant to take all steps
  19                   necessary to bring its pools into full compliance with the requirements set
  20                   forth in the ADA, and its implementing regulations, so that the pools are
  21                   fully accessible to, and independently usable by, disabled individuals,
  22                   specifically including a pool lift as required by Sections 242.2 and 1009.2
  23                   of the 2010 Standards, and which further directs that the Court shall retain
  24                   jurisdiction for a period to be determined after Defendant certifies that its
  25                   pool is fully in compliance with the relevant requirements of the ADA to
  26                   ensure that Defendant has adopted and is following an institutional policy
  27                   that will in fact cause Defendant to remain fully in compliance with the
  28                   law;


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   1                c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
   2                   applicable, payment of costs of suit;
   3                d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
   4                   applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28
   5                   CFR § 36.505 and other principles of law and equity and in compliance
   6                   with the “prevailing party” and “material alteration” of the parties’
   7                   relationship doctrines4 in an amount no less than $3,500.00; and,
   8                e. Order closure of the Defendant’s place of public accommodation until
   9                   Defendant has fully complied with the ADA; and
  10                f. The provision of whatever other relief the Court deems just, equitable and
  11                   appropriate.
  12                              SECOND CAUSE OF ACTION
           (Violation of the California Unruh Civil Rights Act, Cal. Civ. Code §§51, 52)
  13
  14          50.      Plaintiff realleges all allegations heretofore set forth.
  15          51.      Defendant has violated the Unruh by denying Plaintiff equal access to its
  16   public accommodation on the basis of her disability as outlined above.
  17          52.      Unruh provides for declaratory and monetary relief to “aggrieved
  18   persons” who suffer from discrimination on the basis of their disability.
  19          53.      Plaintiff has been damaged by the Defendant’s non-compliance with
  20   Unruh.
  21          54.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
  22   relief as the Court considers appropriate, including monetary damages in an amount to
  23   be proven at trial, but in no event less than $4,000.00.
  24          55.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
  25   amount to be proven at trial.
  26
  27   4
        As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-
  28   1813 JGB (RNBx) (February, 2015)


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   1        WHEREFORE, Plaintiff demands judgment against Defendant as follows:
   2              a. A Declaratory Judgment that at the commencement of this action
   3                 Defendant was in violation of the specific requirements of Unruh; and
   4              b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
   5                 applicable, a permanent injunction pursuant to Unruh which directs
   6                 Defendant to take all steps necessary to bring its pools into full
   7                 compliance with the requirements set forth in the Unruh, and its
   8                 implementing regulations, so that the pools are fully accessible to, and
   9                 independently usable by, disabled individuals, specifically including a
  10                 pool lift as required by law, and which further directs that the Court shall
  11                 retain jurisdiction for a period to be determined after Defendant certifies
  12                 that its pool is fully in compliance with the relevant requirements of the
  13                 Unruh to ensure that Defendant has adopted and is following an
  14                 institutional policy that will in fact cause Defendant to remain fully in
  15                 compliance with the law; and
  16              c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
  17                 applicable , the payment of costs of suit; and
  18              d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
  19                 applicable, the payment of attorneys’ fees;
  20              e. Order closure of the Defendant’s place of public accommodation until
  21                 Defendant has fully complied with the Unruh; and
  22              f. For damages in an amount no less than $4,000.00; and
  23              g. The provision of whatever other relief the Court deems just, equitable and
  24                 appropriate.
  25                              THIRD CAUSE OF ACTION
          (Violation of the California Disabled Persons Act, Cal. Civ. Code §§54-54.3)
  26
  27        56.      Plaintiff realleges all allegations heretofore set forth.
  28


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   1          57.      Defendant has violated the DPA by denying Plaintiff equal access to its
   2   public accommodation on the basis of her disability as outlined above.
   3          58.      The DPA provides for monetary relief to “aggrieved persons” who suffer
   4   from discrimination on the basis of their disability.
   5          59.      Plaintiff has been damaged by the Defendant’s non-compliance with the
   6   DPA.
   7          60.      Pursuant to the DPA, Plaintiff is further entitled to such other relief as the
   8   Court considers appropriate, including monetary damages in an amount to be proven at
   9   trial, but in no event less than $1,000.00. Cal. Civ. Code § 54.3.
  10          61.      Pursuant to the DPA, Plaintiff is entitled to attorney’s fees and costs in an
  11   amount to be proven at trial. Cal. Civ. Code § 54.3.
  12          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
  13                a. A Declaratory Judgment that at the commencement of this action
  14                   Defendant was in violation of the specific requirements of Unruh; and
  15                b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
  16                   applicable, a permanent injunction pursuant to Unruh which directs
  17                   Defendant to take all steps necessary to bring its pools into full
  18                   compliance with the requirements set forth in the Unruh, and its
  19                   implementing regulations, so that the pools are fully accessible to, and
  20                   independently usable by, disabled individuals, specifically including a
  21                   pool lift as required by law, and which further directs that the Court shall
  22                   retain jurisdiction for a period to be determined after Defendant certifies
  23                   that its pool is fully in compliance with the relevant requirements of the
  24                   Unruh to ensure that Defendant has adopted and is following an
  25                   institutional policy that will in fact cause Defendant to remain fully in
  26                   compliance with the law; and
  27                c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
  28                   applicable , the payment of costs of suit; and


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   1             d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
   2                 applicable, the payment of attorneys’ fees;
   3             e. Order closure of the Defendant’s place of public accommodation until
   4                 Defendant has fully complied with the DPA; and
   5             f. For damages in an amount no less than $1,000.00; and
   6             g. The provision of whatever other relief the Court deems just, equitable and
   7                 appropriate.
   8                                DEMAND FOR JURY TRIAL
   9          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
  10   demands a jury trial on issues triable by a jury.
  11
  12          RESPECTFULLY SUBMITTED this 12th day of March, 2017.
  13
  14                                              THE STROJNIK FIRM L.L.C.

  15
  16
  17                                              Peter Kristofer Strojnik (242728)
                                                  2415 East Camelback Road, Suite 700
  18                                              Phoenix, Arizona 85016
  19                                              Attorneys for Plaintiff

  20
                         VERIFICATION COMPLIANT WITH R10-3-405
  21
  22          I declare under penalty of perjury that the foregoing is true and correct.

  23          DATED this 12th day of March, 2017.
  24
  25
  26
  27
  28


                                                 14
